       Case 2:20-cv-02316-HLT-JPO Document 24 Filed 07/27/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

MELONY LUTZ,

               Plaintiff,

       v.                                                Case No. 2:20-cv-2316-HLT

BIG BLUE HEALTHCARE, INC., et al.,

               Defendants.

                                 ORDER TO SHOW CAUSE

       Typically after all defendants have been served and have filed an answer or

responsive pleading, the undersigned U.S. Magistrate Judge, James P. O’Hara, issues a

preliminary case-management order and sets the case for a scheduling conference pursuant

to Fed. R. Civ. P. 16(b). In this case, however, defendants have filed a motion to dismiss

(ECF No. 4) and plaintiff has filed a motion to remand (ECF No. 20).                Thus, in

consideration of the dictates of Fed. R. Civ. P. 1, the court orders the parties to show cause

why discovery and related pretrial proceedings (including the scheduling conference)

should not be stayed until after the presiding U.S. District Judge, Holly L. Teeter, enters

rulings on these two motions.

       IT IS THEREFORE ORDERED that the parties shall respond to this order by

August 3, 2020.

       Dated July 27, 2020, at Kansas City, Kansas.

                                             s/ James P. O’Hara
                                             James P. O’Hara
                                             U.S. Magistrate Judge
O:\SHOW CAUSE ORDERS\20-2316-HLT-OTSC.DOCX
